

People ex rel. Bailey v Yelich (2017 NY Slip Op 08778)





People v Yelich


2017 NY Slip Op 08778


Decided on December 14, 2017


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 14, 2017

524768

[*1]THE PEOPLE OF THE STATE OF NEW YORK ex rel. TIMOTHY BAILEY, Appellant,
vBRUCE YELICH, as Superintendent of Bare Hill Correctional Facility, Respondent.

Calendar Date: October 24, 2017

Before: Garry, J.P., Devine, Clark, Rumsey and Pritzker, JJ.


Timothy Bailey, Malone, appellant pro se.



MEMORANDUM AND ORDER
Appeal from a judgment of the Supreme Court (Feldstein, J.), entered January 9, 2017 in Franklin County, which denied petitioner's application for a writ of habeas corpus, in a proceeding pursuant to CPLR article 70, without a hearing.
Judgment affirmed. No opinion.
Garry, J.P., Devine, Clark, Rumsey and Pritzker, JJ., concur.
ORDERED that the judgment is affirmed, without costs.








